COMMUNITY MAUSOLEUM COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Community Mausoleum Co. v. CommissionerDocket No. 70384.United States Board of Tax Appeals33 B.T.A. 19; 1935 BTA LEXIS 818; September 10, 1935, Promulgated *818  The right acquired by a purchaser of space in a mausoleum is realty and the vendor of such space may elect to report on the installment basis where the initial payment does not exceed 40 percent of the selling price.  In such sales the portion of the sales price to be collected by a trustee and held as a perpetual care fund should be excluded from both contract price and gross profit.  On sales where the initial payment exceeds 40 percent, which are to be reported on the accrual basis, the perpetual care fund is to be excluded from gross income in the year of sale.  Chester Bennett, Esq., for the petitioner.  Arthur Carnduff, Esq., for the respondent.  ARUNDELL*19  This proceeding arises from respondent's determination of a deficiency in petitioner's income tax for the year 1930 in the amount of $1,046.13.  The petitioner assigns two errors: (1) That respondent allowed the deduction of 10 percent of the sale price of crypts, set aside for perpetual care under a trust agreement to which petitioner was a party, only in the year and to the extent that collections from the purchasers for this purpose were made and paid to the trustee, the petitioner*819  contending that, since it kept its books on the accrual basis and reported its income on the installment basis, one of three other suggested methods was the correct one to be followed; and (2) that burial crypts are realty under local law and consequently income derived from their sale is not to be reported on the installment basis where, under section 44(b) of the Revenue Act of 1928, the "initial payment" exceeds 40 percent of the selling price.  From the testimony, taken by depositions, we have found the following facts.  FINDINGS OF FACT.  Petitioner is a Missouri corporation, with its principal office at St. Louis, and since its incorporation in 1927 has been engaged in selling burial crypts.  Late in 1927 or early in 1928 it bought 15,000 square feet of land in St. Louis County, Missouri, from the Mt. Hope Realty Co. for $15,000 under a contract of sale, and received a deed therefor on September 14, 1930.  It broke ground for its "Mt. Hope Mausoleum" on April 12, 1929, installed the crypts on September 9, put on the roof on October 31, and on June 28, 1930, completed the building.  The mausoleum occupied about 6,000 square feet, and contained about 1,200 crypts, of different*820  sizes and prices, and a chapel and overflow space above the chapel.  The total cost of building and *20  land was $188,387.22.  The total cost of the building and land was allocated to the crypts according to size in determining selling prices, which ranged from $7,500 for a private room with five crypts to $500 for a single crypt.  Petitioner retains control of the mausoleum building.  On January 31, 1928, petitioner and the Lafayette South Side Bank &amp; Trust Co. executed an agreement under which the latter as trustee was to collect payments by purchasers of burial crypts, in accordance with the contracts of sale, as follows: 10 percent of the purchase price on execution of contract; 15 percent on breaking ground for mausoleum; 25 percent on completion of installation of crypts; 25 percent when the roof was completed; 15 percent when the entire building was completed; and the final 10 percent within six months after completion.  It provided for the retention by the trustee of all collections on contracts for the sale of the first 150 crypts until the first payment of 10 percent should have been made on all of them, when these payments should be placed to petitioner's credit; *821  and likewise, from time to time, all first payments on later contracts.  It further provided from time to time for construction of the mausoleum, and that the sixth and final payment of 10 percent made by crypt purchasers should be retained by the trustee as a perpetual endowment fund.  On the same day petitioner and the bank executed another agreement providing in detail for the latter's disposition, as trustee, of the permanent endowment fund arising from 10 percent of the sale price of all crypts, and for the creation and continuance of the mausoleum trust committee, representing the bank, the petitioner and the crypt holders.  Petitioner began to sell crypts in 1928 on the installment plan.  In 1928, 1929 and part of 1930 petitioner agreed in its sale contracts to give a certificate of ownership on completion of the crypt buyer's payments, but in 1930 it gave them a warranty deed.  Petitioner kept its books on the accrual basis and made its return on the installment basis.  In 1928 petitioner sold crypts for $21,000, $9,100 of this amount, however, representing sales which were canceled, with resulting total sales of $11,900.  It received in cash $1,190, or 10 percent of the*822  enduring sales in 1928 and nothing was paid into the endowment fund.  In 1929 petitioner sold crypts for $154,328.50, received in cash $89,120.90 on total payments of $90,402.75, and in respect to sales of that year $1,282.35 was paid into the endowment fund.  A substantial portion of these were cash sales, and in a very large proportion of the sales the "initial payment" was in excess of 40 percent of the selling price.  In 1930 petitioner sold crypts for $21,050, received in cash $13,685.25 of a total amount paid of $14,985 in respect to these sales, and paid into the *21  endowment fund $1,299.75.  By far the greatest amount of these sales was for cash, and, for the rest, some involved sales in excess of and some less than 40 percent of the selling price.  In each of the earlier years petitioner charged to a reserve on its books for the endowment fund 10 percent of the total cash received in respect to the sales of the particular year, but in 1930 it charged to this account $5,062.20, which represented 10 percent of all cash received in that year in respect to sales made in 1928, 1929 and 1930, and this amount was claimed by petitioner as a deduction.  Respondent allowed $1,809.91*823  thereof, the total amount actually paid into the endowment fund in 1930 in respect to sales made in 1928, 1929 and 1930.  OPINION.  ARUNDELL: Petitioner contends that, being on the accrual basis and reporting its income on the installment basis allowed by section 44 of the Revenue Act of 1928, it is entitled to have 10 percent of the total amount of cash received in the year on crypt sales, whether made in that or previous years, either deducted as an expense in the year in which the sale is made, or included as part of the cost of the crypts sold, or excluded from its gross income altogether.  Petitioner contends that it derives no advantage from this 10 percent, except possibly what might result from readier sales because of the existence of a permanent endowment fund, and has no interest in or control of this fund, which, under its agreement with the trustee bank, is impressed with a trust in favor of the crypt owners.  It complains that respondent treated this 10 percent as part of the contract price, but did not add it to petitioner's cost.  Respondent relies on the paragraph of the petitioner's trust agreement with the bank that was trustee and depositary of the endowment*824  fund which provided expressly that the last installment of 10 percent paid by a purchaser on his crypt should go to the endowment fund, the earlier payments being subject to petitioner's demands.  The respondent therefore allowed only the actual amounts paid in to the endowment fund in 1930 in respect to sales in that and preceding years.  In doing so much, however, he has conceded in effect petitioner's contention on the point of law.  It is now settled law that a trust created to provide means for permanent care of cemetery lots or crypts in accordance with the cemetery association's contracts with lot purchasers will impress the agreed portion of the purchase price of such lots with its character and thus remove so much of the association's gross receipts from taxable income.  ; ; ; ; *825 ; ; ; ; affd. ; ; . It was held in the Portland case, supra, that a covenant in the cemetery association's deed to the purchaser of space that a portion of the purchase price would be placed in a maintenance fund, without indicating any specific portion to be so used, was enough to impress the fund set aside by the cemetery association with a trust.  Here the trust was express, and the trust agreement was incorporated by reference in the petitioner's contract of sale with crypt purchasers.  We are of the opinion that 10 percent of the total sale price should be excluded from petitioner's gross income.  But in deciding that the 10 percent trust fund should be excluded from petitioner's gross income, we have merely cleared the way for the real*826  question.  What petitioner is seeking to know is how, in its peculiar circumstances, its income should be reported and the exclusion of the trust fund portion given effect.  As stated, petitioner keeps its books on the accrual basis and reports its income on the installment basis under section 44 of the Revenue Act of 1928, set out in the margin. 1 Is it properly entitled to report its income so?  Petitioner states that it would prefer to continue this installment method, but queries its application.  Respondent insists that petitioner must continue the method.  It must do so, of course, only if it is allowable under the statute and no distortion of income will result from the method.  *827  Petitioner's doubt of the method arises from its conviction that burial crypts are "realty" within the meaning of section 44(b).  If they are, obviously, the installment method is open to petitioner only within the limitation imposed by that section, that "the initial *23  payments do not exceed 40 per centum of the selling price." Before we go further, therefore, this question must be answered.  The respondent urges that burial crypts are personalty under the laws of Missouri, citing ; . Petitioner urges that a conveyance in fee was made by the petitioner to the burial crypt purchasers and that the Mullins case is not decisive of the issue.  It appears that after completion of the mausoleum the petitioner gave a warranty deed to crypt purchasers, purporting to convey a real property interest.  Before that it had given a "certificate of ownership." The warranty deed was in the following terms: * * * Community Mausoleum Company.  * * * hereby grants and conveys to , * * * the following described space, * * * TO HAVE AND TO HOLD the above described space unto the*828  said , and heirs and assigns, forever, as a place for the interment of the remains of the human dead of the white race only, subject to the provisions and restrictions now existing or hereafter lawfully and constitutionally enacted respecting or applicable to said Community Mausoleum Company; and, subject to all the conditions and limitations, and the privileges and restrictions, specified in the rules and regulations of said Community Mausoleum Company and of the Mount Hope Realty Company, now in force or that may hereafter be adopted, not in conflict with the law; and, with the benefits and advantages arising under the Endowment Agreement for perpetual care for the said Mausoleum made between Community Mausoleum Company and Lafayette-South Side Bank &amp; Trust Company, as Trustee; which said rules and regulations shall be reasonable and are hereby, together with said Endowment Agreement, specifically made a part of this conveyance.  All transfers and assignments of space covered by this deed may be made only with the written consent of the Grantor, and in conformity with the rules and regulations of the said grantor, now or hereafter existing with reference to said Mausoleum.  *829 This is a question of local law.  In the Mullins case, the Supreme Court of Missouri had before it the precise question whether it was proper to issue special tax bills against the cemetery as one tract, instead of against the separate lots, and held that it was.  The cemetery association had purported to convey a fee simple estate to its several lot holders under a deed of bargain and sale, in which the habendum clause was very similar to that used here.  The court reviewed the authorities and came to the conclusion that, notwithstanding the words of the conveyance, all that was conveyed was an easement of the right of burial.  The case was later affirmed by the Supreme Court, . Cf. ; . We conclude, therefore, that under Missouri law a cemetery association's conveyance of a burial lot does not create a fee simple estate *24  in realty, and, a fortiori, its conveyance of the right of burial in a crypt does not create such an estate.  However, the right of burial being an easement, *830 ,; , it is an estate in land, 1 Thompson on Real Property, § 295; 19 C.J., p. 863.  As such it is subject to the provisions of section 44(b) with respect to the sales of realty. We are now in a position to determine the proper method the petitioner should use for the reporting of its income.  It appears from the evidence that a substantial part of petitioner's sales in 1929 and 1930 were made either for cash or on an installment basis, the "initial payments" under which were in excess of 40 percent within the taxable period, as is used in section 44(b).  It seems clear, therefore, that such sales, whether in prior years or in 1930, should be reported on the accrual basis and not the installment basis, to which method the petitioner in such circumstances has no claim.  Where the accrual method is employed the full amount of the contract price, less the 10 percent set aside for the perpetual care trust fund, should be reported in the year of sale.  Where the sales were made, however, on the installment plan within the*831  40 percent limitation of subsection (b), the installment basis of reporting may be used by the petitioner, which requires that a taxpayer using it must return as income "that proportion of the installment payments actually received in that year which the gross profit realized when payment is completed, bears to the total contract price." In ascertaining the two terms of this ratio, the gross profit and contract price, the 10 percent paid by each purchaser to the trustee for the perpetual care fund should be excluded both from the gross profit and from the contract price.  While the petitioner under its contract with a crypt buyer created in the buyer a nonseparable right to the crypt and to its perpetual care, and a correlative obligation on the buyer's part to pay the full price of both rights of property, it was made clear in the contract by reference to the trust and endowment agreements that 10 percent of this total price would not go to the petitioner but to the trustee bank which held it for the crypt buyer's benefit.  It does no violence to the words of the statute, "total contract price," therefore, to treat that term as including no more than 90 percent of the price which*832  the buyer paid, by excluding the trust fund part; and it is equally obvious that the "gross profit" to petitioner could not properly include the 10 percent over which it had no actual control or ownership.  We hold, therefore, that the petitioner's income should be recomputed in accordance with the principles stated.  Judgment will be entered under Rule 50.Footnotes1. SEC. 44.  INSTALLMENT BASIS.  (a) Dealers in personal property. - Under regulations prescribed by the Commissioner with the approval of the Secretary, a person who regularly sells or otherwise disposes of personal property on the installment basis may return as income therefrom in any taxable year that proportion of the installment payments actually received in that year which the gross profit realized or to be realized when payment is completed, bears to the total contract price.  (b) Sales of realty and casual sales of personalty.↩ - In the case (1) of a casual sale or other casual disposition of personal property (other than property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year), for a price exceeding $1,000, or (2) of a sale or other disposition of real property, if in either case the initial payments do not exceed 40 per centum of the selling price, the income may, under regulations prescribed by the Commissioner with the approval of the Secretary, be returned on the basis and in the manner above prescribed in this section.  As used in this section the term "initial payments" means the payments received in cash or property other than evidences of indebtedness of the purchaser during the taxable period in which the sale or other disposition is made. 